










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-05-00327-CR




Charles T. Roberts, Appellant


v.


The State of Texas, Appellee





FROM THE COUNTY COURT AT LAW NO. 2 OF WILLIAMSON COUNTY
NO. 04-2350-2, HONORABLE TIMOTHY L. WRIGHT, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N
&nbsp;
After his motion to suppress evidence was overruled, appellant Charles T. Roberts
pleaded guilty to possessing less than two ounces of marihuana.  See Tex. Health &amp; Safety Code
Ann. § 481.121 (West 2003).  As called for in a plea bargain agreement, the court deferred
adjudication and placed appellant on community supervision.  
In his sole point of error, appellant contends that the warrant to search his residence
was issued without probable cause.  He relies on the opinions of this Court in Davila v. State, 169
S.W.3d 735 (Tex. App.—Austin 2005, no pet.) and Serrano v. State, 123 S.W.3d 53 (Tex.
App.—Austin 2003, pet. ref’d).  The State confesses error.  The point of error is sustained.
The deferred adjudication order is reversed and the cause is remanded to the county
court at law.  On the State’s motion, the Court’s mandate shall issue immediately.  See Tex. R. App.
P. 18.1(c). 
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;W. Kenneth Law, Chief Justice
Before Chief Justice Law, Justices Pemberton and Waldrop
Reversed and Remanded
Filed:   December 15, 2005
Do Not Publish


